      04-12771-mkv         Doc 716   Filed 03/07/16     Entered 03/07/16 09:03:48   Main Document
                                                      Pg 1 of 1


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                                                                        March 3, 2016


        Honorable Cecelia G. Morris
        Chief United States Bankruptcy Judge
        United States Bankruptcy Court
        Southern District of New York
        One Bowling Green
        New York, New York 10004

                          Re:   CashPoint Network Services, Inc.
                                Case No. 04-12771-cgm

        Dear Judge Morris:

             Please allow this letter to serve as a status report in the
        above captioned case.

             Interim distributions of approximately 39% have been made to
        date. All claims have been resolved. The only matter pending was
        the Two Million Dollar judgment against O'Nae's & Price, Inc. The
        motion to domesticate judgment in Mississippi was objected to but
        objection was overcome on domesticating the judgment and it had
        been appealed. A decision was rendered in Trustee's favor and
        judgments against O'Nae's & Price, Inc.'s property have been filed
        in Mississippi.

             Trustee’s attempts to sell the judgment were not productive.
        As such, Trustee anticipates filing his final report on or before
        May, 2016. If the judgment debtor attempts to sell the property
        upon which we filed judgments, we will move to recover same. Final
        report being prepared.
                                                      Respectfully yours,

                                                                        /s/ John S. Pereira

                                                                        John S. Pereira
                                                                        Chapter 7 Trustee

        JSP:AMS
